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                       UNITED STATES OF AMERICA
                     UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


JIMMY L. SABIN, et al.              )
                                    )
                  Plaintiffs,       )         Case No. 1:14-cv-296
                                    )
v.                                  )         Honorable Paul L. Maloney
                                    )
STEVEN KARBER, et al.,              )                OPINION
                                    )
                  Defendants.       )
____________________________________)

      This is a civil rights action brought pro se under 42 U.S.C. §1983. Plaintiff

Jimmy L. Sabin, brings this action on behalf of himself and his sole proprietorship,

Heritage Bible Fellowship (HBF). Mr. Sabin’s complaint concerns the handling of a

portion of the “prodigious” amount of items that he mailed to inmates at the Ionia

Correctional Facility (ICF) between January 26, 2011, and January 21, 2014, through

HBF. (Compl. at 4-13, ECF No. 1, PageID.4-13). He named five employees of the

Michigan Department of Corrections (MDOC) at ICF as defendants: Mailroom Clerks

Steven Karber and Craig Lantagne, Assistant Resident Supervisors Erric Smith and

Jennifer Gehoski, and Warden John Prelesnik.1 Plaintiffs sue all defendants in their




      1
       Mr. Sabin did not proceed in forma pauperis. (ECF No. 1). Thus, his claims
against defendants were not subject to initial screening under Rule 12(b)(6) standards.
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individual capacities and seek declaratory relief2 and damages. (Id. at ¶¶ 6-10, 50, 57,

62, 67, 73, PageID.2-3, 17-23).

      Plaintiffs’ complaint3 consists four counts under 42 U.S.C. § 1983 alleging

violation of First Amendment Rights, applicable to the States through the Fourteenth

Amendment: Count I, violations of the Free Exercise Clause by all defendants;

Count II, violation of the Free Speech Clause by all defendants; Count III, retaliation



      2
        The request for declaratory relief is moot. The parties did not even bother
mentioning it in their briefs. Defendants are generally described as “former” holders
of the listed positions. (See e.g., ECF No. 74, PageID.516; ECF No. 82, PageID.602;
). The MDOC has adopted a new prisoner mail policy, effective October 1, 2017. See
http://www.michigan.gov/corrections/0,4551,7-119-68854_68856-428343--,00.html (last
visited on September 19, 2017).
      3
         Under the provisions of 28 U.S.C. § 1654, a person may prosecute an action
either through counsel or pro se. A pro se litigant, however, is limited to representing
himself and may not act in a representative capacity for any other person. See
Lattanzio v. COMTA, 481 F.3d 137, 139 (2d Cir. 2007). “The statute does not permit
unlicensed laymen to represent anyone else other than themselves.” Id. (quotation
omitted); see Patrick v. Arnsman, No. 1:15-cv-1201, 2015 WL 6040933, at * 4 (W.D.
Mich. Oct. 15, 2015). Mr. Sabin is not a licensed attorney. (see Motion Requesting Pro
Bono Counsel, ECF No.17, PageID.72-73). He cannot represent the interests of anyone
else, including the ICF inmates that he mentions in his complaint (ECF No. 1) and
affidavit (ECF No. 92). See 28 U.S.C. § 1654; see also Patrick, 2015 WL 6040933, at
* 4.
       Although Mr. Sabin’s decision to include his proprietorship as an additional
plaintiff adds nothing of consequence to this case. He can proceed pro se under 28
U.S.C. § 1654 as a “representative” of his proprietorship because it has no legal
existence apart from Mr. Sabin. See NLRB v. Consolidated Food Servs., Inc., 81 F.
App’x 13, 14 n.1 (6th Cir. 2003).
       Jimmy Sabin is a convicted felon and registered sex offender. See Lantagne v.
Sabin, Nos 312269, 315533, 312270, 315532, 2014 WL 2118226, at *1 (Mich. Ct. App.
May 20, 2014); see also ECF No. 82-6, PageID.772-73. Mr. Sabin has presented no
evidence that his felony conviction has been overturned. The only rights at issue in
this lawsuit are Mr. Sabin’s rights, if any, as a convicted felon attempting mail the
various items listed in his complaint to ICF inmates.

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by defendants Karber and Lantagne; and Count IV, violation of the right of free

association by all defendants. Plaintiffs ask the Court, in the exercise of its discretion,

to exercise supplemental jurisdiction over claims defendants violated their rights under

provisions of Michigan’s constitution and a Michigan statute. (ECF No. 1, PageID.16-

22).

       The matter is now before the Court on defendants’ motion for summary

judgment. (ECF No. 73). Plaintiff Sabin as filed his response. (ECF No. 81-82).

Defendants filed a reply brief. (ECF No. 86). The Court entered an order directing the

parties to correct a series of procedural deficiencies regarding the evidence that had

been presented in connection with the pending motion for summary judgment. (ECF

No. 90). The parties subsequently filed materials in response to the Court’s order

(ECF No. 91, 92, 94) and defendants’ motion for summary judgment has long been

ready for decision.

       For the reasons set forth herein, defendants’ motion will be granted and

judgment will be entered in defendants’ favor on all plaintiffs’ federal claims. The

Court, in its discretion, declines to exercise supplemental jurisdiction over plaintiff’s

purported state-law claims.

                                Applicable Standards

       A.     Summary Judgment Standard

       Summary judgment is appropriate when the record reveals that there are no

genuine issues as to any material fact in dispute and the moving party is entitled to

judgment as a matter of law. FED. R. CIV. P. 56(c); Griffin v. Hardrick, 604 F.3d 949,

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953 (6th Cir. 2010). The standard for determining whether summary judgment is

appropriate is “whether ‘the evidence presents a sufficient disagreement to require

submission to a jury or whether it is so one-sided that one party must prevail as a

matter of law.’” Moses v. Providence Hosp. Med. Centers, Inc., 561 F.3d 573, 578 (6th

Cir. 2009) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251-52 (1986)). The

Court must consider all pleadings, depositions, affidavits, and admissions on file, and

draw all justifiable inferences in favor of the party opposing the motion.          See

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986); Pluck v.

BP Oil Pipeline Co., 640 F.3d 671, 676 (6th Cir. 2011).

      When the party without the burden of proof seeks summary judgment, that

party bears the initial burden of pointing out to the district court an absence of

evidence to support the nonmoving party’s case, but need not support its motion with

affidavits or other materials “negating” the opponent’s claim. See Morris v. Oldham

County Fiscal Court, 201 F.3d 784, 787 (6th Cir. 2000); see also Minadeo v. ICI Paints,

398 F.3d 751, 761 (6th Cir. 2005). Once the movant shows that “there is an absence

of evidence to support the nonmoving party’s case,” the nonmoving party has the

burden of coming forward with evidence raising a triable issue of fact. Celotex Corp.

v. Catrett, 477 U.S. 317, 323 (1986). To sustain this burden, the nonmoving party may

not rest on the mere allegations of his pleadings. FED. R. CIV. P. 56(e); see Everson v.

Leis, 556 F.3d 484, 496 (6th Cir. 2009). The motion for summary judgment forces the

nonmoving party to present evidence sufficient to create a genuine issue of fact for



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trial. Street v. J.C. Bradford & Co., 886 F.2d 1472, 1478 (6th Cir. 1990); see Newell

Rubbermaid, Inc. v. Raymond Corp., 676 F.3d 521, 533 (6th Cir. 2012). “A mere

scintilla of evidence is insufficient; ‘there must be evidence on which a jury could

reasonably find for the [non-movant].’” Dominguez v. Correctional Med. Servs., 555

F.3d 543, 549 (6th Cir. 2009) (quoting Anderson, 477 U.S. at 252); see LaQuinta Corp.

v. Heartland Properties LLC, 603 F.3d 327, 335 (6th Cir. 2010).

      B.     Qualified Immunity

      Defendants argue that they are entitled to summary judgment on plaintiff's

claims for damages against them in their individual capacities on the basis of qualified

immunity. “Once [an] official[ ] raise[s] the qualified immunity defense, the plaintiff

bears the burden to ‘demonstrate that the official [is] not entitled to qualified

immunity.’ ” LeFever v. Ferguson, 645 F. App’x 438, 442 (6th Cir. 2016) (quoting

Silberstein v. City of Dayton, 440 F.3d 306, 311 (6th Cir. 2006)); see Estate of Hill v.

Miracle, 853 F.3d 306, 312 (6th Cir. 2017).

      “A government official sued under section 1983 is entitled to qualified immunity

unless the official violated a statutory or constitutional right that was clearly

established at the time of the challenged conduct.” Carroll v. Carman, 135 S. Ct. 348,

350 (2014); see Taylor v. Barkes, 135 S. Ct. 2042, 2044 (2015); Lane v. Franks, 134 S.

Ct. 2369, 2381 (2014). The first prong of qualified immunity analysis is whether the

plaintiff has alleged facts showing that each defendant’s conduct violated a

constitutional or statutory right. See Saucier v. Katz, 533 U.S. 194, 201 (2001). The



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second prong is whether the right was “clearly established” at the time of the

defendant’s alleged misconduct. Id. Trial courts are permitted to exercise their sound

discretion in deciding which of the two prongs of the qualified immunity analysis

should be addressed first. See Pearson v. Callahan, 555 U.S. 223, 236 (2009).

       A qualified immunity defense can be asserted at various stages of the litigation,

including the summary judgment stage. See English v. Dyke, 23 F.3d 1086, 1089 (6th

Cir. 1994). The qualified immunity inquiry at the summary judgment stage is

distinguished from the Rule 12(b)(6) stage in that generalized notice pleading no longer

suffices, and the broader summary judgment record provides the framework within

which the actions of each individual defendant must be evaluated. At the summary

judgment stage, “the plaintiff must, at a minimum, offer sufficient evidence to create

a ‘genuine issue of fact,’ that is, ‘evidence on which a jury could reasonably find for the

plaintiff.’ ” Thompson v. City of Lebanon, Tenn., 831 F.3d 366, 370 (6th Cir. 2016); see

Gardner v. Evans, 811 F.3d 844, 846 (6th Cir. 2016); see also Zuhl v. Haskins, 652 F.

App’x 358, 361 (6th Cir. 2016).

       In Brosseau v. Haugen, the Supreme Court examined the underlying purpose of

the requirement that the law be clearly established:

       Qualified immunity shields an officer from suit when she makes a
       decision that, even if constitutionally deficient, misapprehends the law
       governing the circumstances she confronted. . . . Because the focus is on
       whether the officer had fair notice that her conduct was unlawful,
       reasonableness is judged against the backdrop of the law at the time of
       the conduct. If the law at the time did not clearly establish that the
       officer’s conduct would violate the Constitution, the officer should not be
       subject to liability or, indeed, even the burdens of litigation.


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543 U.S. 194, 198 (2004); see also Ziglar v. Abbasi, 137 S. Ct. 1873, 1867 (2017) (“If a

reasonable officer might not have known for certain that the conduct was unlawful --

then the officer is immune from liability.”) (quotation and citation omitted); Mullenix

v. Luna, 136 S. Ct. 305, 308 (2015) (“The dispositive question is whether the violative

nature of the particular conduct is clearly established.”) (citation and quotation

omitted); City & County of San Francisco, Calif. v. Sheehan, 135 S. Ct. 1765, 1774

(2015) (“An officer cannot be said to have violated a clearly established right unless the

right’s contours were sufficiently definite that any reasonable official in his shoes

would have understood that he was violating it, meaning that existing precedent

placed the statutory or constitutional question beyond debate.”) (citations and

quotations omitted); Mitchell v. Schlabach, 864 F.3d 416, 424 (6th Cir. 2017).

Qualified immunity is an immunity from suit rather than a mere defense to liability.

Plumhoff v. Rickard, 134 S. Ct. 2012, 2019 (2014).

      The Supreme Court has repeatedly held that the second prong of the qualified

immunity analysis “ ‘must be undertaken in light of the specific context of the case, not

as a broad general proposition.’ ” Brosseau v. Haugen, 543 U.S. at 198 (quoting Saucier

v. Katz, 533 U.S. at 201); see White v. Pauly, 137 S. Ct. 548, 552 (2017). Moreover,

courts are “not to define clearly established law at a high level of generality, since

doing so avoids the crucial question whether the official acted reasonably in the

particular circumstances that he or she faced.” Plumhoff v. Rickard, 134 S. Ct. at 2023

(citations and quotations omitted); see White v. Pauly, 137 S. Ct. at 552. In order to be



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clearly established, existing precedent must have placed the unlawfulness of the

official’s conduct “beyond debate.” Plumhoff, 134 S. Ct. at 2023; Mitchell, 864 F.3d at

424.

       “The burden of convincing a court that the law was clearly established ‘rests

squarely with the plaintiff.’ ” Key v. Grayson, 179 F.3d 996, 1000 (6th Cir. 1999)

(quoting Cope v. Heltsley, 128 F.3d 452, 459 (6th Cir. 1997)); see Estate of Hill v.

Miracle, 853 F.3d at 312 (“[T]he ultimate burden of proof is on the plaintiff to show

that the defendant is not entitled to qualified immunity.”) (quotation and citation

omitted). The burden applies to each claim that the plaintiff is asserting against a

defendant. See Johnson v. Moseley, 790 F.3d 649, 653 (6th Cir. 2015).

                                   Findings of Fact

       The following facts are beyond genuine issue. Plaintiff Jimmy L. Sabin is a

convicted felon, formerly held in the custody of the Michigan Department of

Corrections (MDOC). He is currently a resident of Vassar, Michigan. At all times

relevant to this lawsuit, defendants were employed by the Michigan Department of

Corrections (MDOC) at the Ionia Correctional Facility (ICF).4 The defendants are

Mailroom Clerk Steven Karber, Mailroom Clerk Craig Lantagne, Assistant Resident

Supervisor (ARUS) Erric Smith, ARUS J. Gehoski, and ICF’s Warden John Prelesnik.



       4
        ICF houses “level V prisoner[s], a classification reserved for the prison system’s
most dangerous or unmanageable prisoners.” Jackson v. Stoddard, No. 1:13-cv-1297,
2014 WL 2862614, at *1 (W.D. Mich. June 24, 2014). “Level V is the highest security
level of the five-level Michigan classification system[.]” Mays v. Gorman, No. 1:11-cv-
694, 2013 WL 504234, at *1 (W.D. Mich. Feb. 12, 2013).

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      Mr. Sabin is a “regular and prodigious sender of mail” to inmates in the MDOC’s

custody. (Sabin Aff. ¶ 3, ECF No. 92, PageID.900). He generally does not identify

himself as the sender of these materials. Instead, he uses a post office box address in

Vassar, Michigan, and sends material to ICF “under the auspices” of a sole

proprietorship, which he refers to as the Heritage Bible Fellowship (HBF). (Id. at ¶ 2,

PageID.900). Mr. Sabin refers to himself as HBF’s “founder and operator.” (Id.).

Sabin’s affidavit does not specify his religion. It does state that HBF is a “Messianic

Christian prison ministry” without further elaboration of this faith and its religious

practices. (Id.). There is no evidence before the Court connecting any of the mail

rejections at issue in this lawsuit with any religious practice.

      Plaintiff Sabin states that in 2011, he received six Notices of Package/Mail

Rejections issued by Mailroom Clerk Craig Lantagne and thirty issued by Mailroom

Clerk Steven Karber. (Sabin Aff. ¶ 8, ECF No. 92, PageID.902). With the exception

of the photocopy of a newspaper clipping (ECF No. 82-1, PageID.670, 672, 82-4,

PageID.712), plaintiffs have not supported their claims against defendants with copies

of the specific mail items that they now contend were wrongfully rejected.

      A Notice of Package/Mail Rejection is an initial step in the MDOC’s process of

determining whether and item of incoming mail believed to be contraband will be

excluded. (Karber Dep. at 19-20, ECF No. 82-6, PageID.773-74). The Notice identifies

the item and the reason(s) why it is believed to be in violation of policy. The prisoner

is provided with a copy of the Notice and a copy is sent to the sender, if a return

address is provided. (Policy Directive 05.03.118 (effective 09/14/09), ¶ OO, ECF No. 74-

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3, PageID.557). The sender’s means of appealing the Notice of Package/Mail Rejection

is by mailing a letter addressed to the facility head within ten days after the date of

the Notice appealing the proposed rejection. (Id. at ¶ YY, PageID.558). Although

plaintiff Sabin states that he filed appeals on “multiple occasions,” the only instances

supported with documentation are a May 8, 2011, letter objecting to Notice of

Package/Mail Rejection # 0411-120, and a March 2, 2012 appeal from Notice of

Package/Mail Rejection # 0212-073. (Sabin Aff. ¶ 16, PageID.904; ECF No. 82-1,

PageID.670-73, 678-79). A sender is notified in writing if his appeal is granted or

denied. If the appeal is granted, that decision is noted on an Administrative Hearing

Report and the prisoner is allowed to receive the mail. (Policy Directive 05.03.118,

¶ YY, ECF No. 74-3, PageID.558).

      In cases where a Notice of Package/Mail Rejection has been issued, MDOC

prisoners have means at their disposal for challenging a proposed mail rejection.

Unless the prisoner waives his right to a hearing in writing or the prisoner and staff

agree as to the appropriate disposition of the mail, a hearing is conducted. The hearing

officer is not the person who issued the Notice. (Id. at ¶ PP, PageID.557; Karber Dep.

at 22-23, ECF No. 82-6, PageID.776-77; Lantagne Dep. at 24, ECF No. 82-7,

PageID.788). Acting as a hearing officer is one of the duties of an assistant resident

supervisor (ARUS). (Policy Directive 05.03.118, ¶ PP, QQ, ECF No. 74-3, PageID.557;

ECF No. 82-3, PageID.699-700). If a hearing is conducted, an Administrative Hearing

Report is completed by the hearing officer. If the hearing officer finds that the item of

mail does not violate policy, the prisoner is entitled to receive it. (Policy Directive

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05.03.118, ¶ SS, ECF No. 74-3, PageID.557). If the hearing officer finds that the item

is contraband, the prisoner can appeal the decision through all three steps of the

MDOC’s grievance process. (Id. at ¶ XX, PageID.558). The process for disposition of

rejected mail is defined by the policy directive. With few exceptions, such as where

mail is turned over to law enforcement officials for possible criminal prosecution, the

prisoner has the option of returning the mail to the sender at his own expense. (Id. at

¶¶ RR-TT, ZZ-AAA, PageID.557-59).

      The evidence generated in connection with the challenged Notice of

Package/Mail Rejections that the parties have supplied5 is addressed in chronological

order by year below.

                                         2011

      1.     # 0411-120

      On April 26, 2011, defendant Karber issued a Notice of Package/Mail Rejection.

The Notice indicated that a Detroit Free Press article, dated April 18, 2011, sent by

HBF to prisoner Bout was being rejected because it provided details regarding another

prisoner’s crime. (ECF No. 74-2, PageID.528; see also ECF No. 82-4, PageID.712).

      On May 8, 2011, plaintiffs sent a letter to Warden Prelesnik appealing Notice

of Package/Mail Rejection # 0411-120. (ECF No. 82-1, PageID.670-73). This appeal


      5
        Plaintiffs failed to submit evidence supporting their claims that other Notice
of Package/Mail Rejections and hearing decisions by defendants violated their
constitutional rights. (See ECF No. 1. PageID.7-13). The Court expressly advised
plaintiffs that their complaint was “not properly verified” because it was based on
“information and belief,” and that it would not be considered as an affidavit in
opposition to defendants’ motion for summary judgment. (ECF No. 90, PageID.891).

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included a photocopy of the heading from the newspaper clipping, but not the

underlying article. (Id. at PageID.670, 672). Plaintiffs did not submit a copy of the

warden’s response.

      2.     # 0511-016

      On May 4, 2011, Defendant Karber issued Notice of Package/Mail Rejection

# 0511-016. He indicated that the Notice had been issued because it was a “Copy of a

Newspaper Article from the Detroit Free Press on another MDOC inmate.”6 The mail

had been sent by Sabin through HBF to prisoner Murphy.               (ECF No. 82-4,

PageID.713). On May 11, 2011, ARUS Erric Smith conducted an administrative

hearing, found that this article did not pose a threat to the facility, and prisoner

Murphy was allowed to have the article.         (Id. at PageID.714; ECF No. 82-4,

PageID.706).

      3.     # 0811-054

      On August 8, 2011, Lantagne issued Notice of Package/Mail Rejection # 0811-

054. The mail was from HBF to prisoner Murphy. It was rejected for the following

reasons: “Hand written pages contain code/underline words/ #8’s Bottom of page 4, top

of page 5, Threats toward staff. Recall petition forms/1 instruction sheet - Denied by

Warden Prelesnik.” (ECF No. 82-1, PageID.682).


      6
       The inmate had been convicted of criminal sexual conduct. The victim was a
nine year old girl. Her assailant had climbed through her bedroom window in the early
morning hours and raped her. (ECF No. 82-4, PageID.712). A comparison of the
headings (ECF No. 82-1, PageID. 670-73; ECF No. 82-4, PageID.712) suggests that this
was the same April 18, 2011, newspaper article that had been sent to prisoner Bout
and was the subject of Notice of Package/Mail Rejection # 0411-120.

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      On August 15, 2011, ARUS Smith acted as the hearing officer for the hearing

on Notice of Package/Mail Rejection # 0811-054. The Administrative Hearing Report

described the items as handwritten pages that appeared to contain a code of underlined

words and numbers, threats towards staff, and a recall petition form with an

instruction sheet “Denied by Warden Prelesnik.” It was determined that these items

constituted contraband. (ECF No. 74-2, PageID.537; ECF No. 82-4, PageID.707).

Prisoner Murphy was not successful in his attempt to have this decision overturned

through the MDOC’s grievance process.7 Prisoner Murphy had numerous alternative

means available to educate himself regarding Michigan government and the political

process. (ECF No. 82-4, PageID.707, 716-22).

      4.     # 0811-061

      On August 10, 2011, Lantagne issued Notice of Package/Mail Rejection # 0811-

061. He indicated that this item was being rejected because it contained a detailed

map and a coded letter. (ECF No. 82-1, PageID.683). Plaintiff Sabin states that in

almost all his hand printed letters to prisoners he underlines words as a method of

emphasis, rather than a code.8 (Sabin Aff. ¶14, ECF No. 92, PageID.903). ARUS

Smith found no discernable code in the underlined words.          He attributed what


      7
       Murphy’s grievance described the petition form as follows: “Sample blank Recall
Petitions for Michigan Governor Rick Snyder and Vassar County Clerk.” (ECF No. 82-
4, PageID.716).
      8
        It is appropriate to note that Plaintiff Sabin has not found it necessary to use
this method of emphasis in any of the materials that he has filed with the Court. (See
e.g., ECF No. 1, 17, 20, 52, 82, 91, 92). Plaintiff Sabin is capable of communicating
without resort to unusual underlining.

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appeared to be random underlining as a personal quirk of the author. Smith came to

the “conclusion that the writer of said letter writes oddly underlining different words,”

and expressed hope that he was right by thinking that there was no malice involved.

Prisoner Murphy was allowed to possess the letter but was not permitted to possess the

detailed map. (ECF No. 74-2, PageID.538).

      Prisoner Murphy states that after he was transferred to the Bellamy Creek

Correctional Facility in 2012, he was able to obtain from Sabin a “USGS National

Water Information System Mapper photograph of the Sabin homestead” without

having a Notice of Package/Mail Rejection issued by MDOC employees at Bellamy

Creek. Murphy considers the USGS photograph to be the as the equivalent of the

rejected Google map. (Murphy Aff. ¶ 7, ECF No. 82-4, PageID.707, 723).

      5.     # 0911-040

      On September 13, 2011, Lantagne issued Notice of Package/Mail Rejection

# 0911-040. (ECF No. 74-2, PageID.529). Plaintiff Sabin describes the mail that was

the subject of this Notice of Package/Mail rejection as a “2011-2012 Opinion Petition

to the Michigan Legislature.” Sabin states that his purpose in sending such petitions

to prisoners was “to enable passing on the petitions to the inmates’ families to gather

signatures among friends and the public.” (Sabin Aff. ¶ 15, ECF No. 92, PageID.903).

ARUS Gehoski conducted the administrative hearing on Notice of Package/Mail

Rejection # 0911-040. Ms. Gehoski determined that the rejection of the mail was

appropriate. (ECF No. 74-2, PageID.539; ECF No. 82-4, PageID.707; ECF No. 82-3,

PageID.702).

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      Prisoner Murphy sought review of this decision through the MDOC’s grievance

process. (ECF No. 82-3, PageID.702; ECF No. 82-4, PageID.731). The MDOC found

at Step III of the grievance process that the description that Mr. Lantagne provided in

the Notice was deficient. “A new Notice and administrative hearing would be in order,

however, the record indicates that the document was returned to the sender on 12-14-

11. No further action is necessary pursuant to the grievance process.” (ECF No. 82-4,

PageID.730).

      6.     # 1011-020

      On October 25, 2011, Mr. Karber issued Notice of Package/Mail Rejection

# 1011-020. Mail sent from the HBC’s post office box was being rejected because it

posed a threat to prison security. Karber indicated that it was a “Detailed News

Article on the Prison Riots of Attica: The New York Times Thursday, September 8,

2011[.]” (ECF No. 74-2, PageID.530; ECF No. 82-4, PageID.732). ARUS Gehoski

conducted the administrative hearing. She determined that the item posed a threat

to the security and good order of the prison and encouraged criminal activity. (ECF

No. 72-4, PageID.540; ECF No. 82-3, PageID.702; ECF No. 82-4, PageID.708, 735).

      7.     # 1111-115

      On November 16, 2011, Lantagne issued Notice of Package/Mail Rejection

# 1111-115. Mail sent from HBF to prisoner Murphy was being rejected because it

included copies of a publication and table of contents that were not direct from the

publisher in violation of PD 05.03.118 ¶¶ CC.         ARUS Gehoski conducted the

administrative hearing. Ms. Gehoski affirmed the rejection of a 118 page document

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entitled “Tolerating Failure: The State Health Care and Mental Health Delivery in the

Michigan Department of Corrections” and a 58 page document entitled “Psychiatric

Effects of Solitary Confinement Stuart Grassian” under this policy directive. ARUS

Gehoski also upheld the rejection of a “Google search of Stuart Grassian” because it

contained personal information regarding Grassian and Grassian’s family.           The

materials in this package were voluminous and prisoner Murphy was permitted to

receive many items. ARUS Gehoski wrote: “The following papers will be given to

Murphy as they are not a violation of Policy and do not jeopardize the safety and

security of the institution: ‘Overview: Neuropsychiatric Effects of Solitary

Confinement’; Internet article on Brant D. Fries, PhD.; ‘Testimony of Impact of

Isolation, July 19, 2005,’ and 2 papers that have copies of newspaper articles on them.”

(ECF No. 74-2, PageID.541; ECF No. 82-3, PageID.702; ECF No. 82-4, PageID.709,

740-41). Murphy subsequently sought to obtain rejected items through the MDOC’s

grievance process. On November 29, 2012, the MDOC’s Grievance and Appeals Section

issued a Step III decision overturning the rejection of the Google search results

regarding Professor Grassian because it appeared to contain only professional

information regarding the mental health care professional, not personal information.

(ECF No. 82-4, PageID.744).

      8.     # 1111-142C

      ARUS Gehoski conducted the administrative hearing on Notice of Package/Mail

Rejection # 1211-0142C issued by defendant Karber. Gehoski upheld the rejection of

this material sent to prisoner Murphy because the sheets of paper providing names,

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addresses and telephone numbers were not permitted under MDOC policy. (ECF No.

72-4, PageID.531, 543; ECF No. 82-3, PageID.702; ECF No. 82-4, PageID.709-10).

      9.    # 1211-037

      This mail rejection was issued by Karber and affirmed by Gehoski. It was two

sheets of paper with contained names and addresses and phone numbers which were

not allowed by policy. The rejection was affirmed because it contained personal

information not allowed by policy. (ECF No. 74-2, PageID.532, 543; ECF No. 82-3,

PageID.703; ECF No. 82-4, PageID.710).

      10.   # 1211-063

      On December 20, 2011, Karber issued Notice of Package/Mail Rejection # 1211-

063. (ECF No. 74-2, PageID.533). The notice indicated that mail from HBC to

prisoner Murphy was being rejected because it posed a threat to the security of the

prison facility and staff members. (Id.; ECF No. 82-4, PageID.745). ARUS Gehoski

conducted the administrative hearing and determined that the materials constituted

a threat to the security, good order, and discipline of the facility. (ECF No. 74-2,

PageID.544; ECF No. 82-3, PageID.703; ECF No. 82-4, PageID.710).

      11.   # 1211-084

      On December 22, 2011, Karber issued Notice of Package/Mail Rejection # 1211-

084. Mail from HBC to prisoner Murphy was being rejected because it was a apparent

attempt to circumvent the mail policy “by sending in address’s [sic] personal

information etc.” (ECF No. 74-2, PageID.534; ECF No. 82-4, PageID.747). ARUS

Gehoski conducted the administrative hearing and upheld the mail rejection. The mail

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contained staff personal information that constituted a threat to the safety and good

order of the facility. (ECF No. 74-2, PageID.545; ECF No. 82-3, PageID.703).

                                         2012

      On or about January 17, 2012, ICF Mailroom Clerks Karber and Lantagne

initiated state court proceedings seeking personal protective orders against Mr. Sabin.

On January 29, 2013, the Ionia County Circuit Court Judge Suzanne Kreeger entered

a personal protection orders (PPOs) prohibiting Jimmie Lee Sabin from various forms

of contact with Steven Karber or Craig Lantagne, including sending their personal

information to anyone including code names or ways to identify Karber or Lantagne.

(ECF No. 18-1, PageID.89-90; Sabin Aff. ¶ 7, ECF No. 92, PageID.901; see Lantagne

v. Sabin, Nos 312269, 315533, 312270, 315532, 2014 WL 2118226, at *1 (Mich. Ct.

App. May 20, 2014)). Plaintiff Sabin is a convicted felon who was held in MDOC

custody “from 1990 to 1999.” 2014 WL 2118226, at *1. Sabi n “founded the Heritage

Bible Fellowship (HBF), which [i]s a non-profit ‘ministry’ that correspond[s] with

prisoners within the [MDOC].” Id.

      Mr. Sabin’s effort to convince Judge Kreeger to terminate her orders proved

unsuccessful. According to Sabin, the initial PPOs prohibited him, and HBF by

association, from discussing Steven Karber or Craig Lantagne by name, job title, or

code. (Sabin Aff. ¶ 7, ECF No. 92, PageID.901) (citing ECF No. 18-1, PageID.89-90)).

Judge Kreeger rejected Sabin’s arguments that his communications with prisoners had

been constitutionally protected and served a legitimate purpose. 2014 WL 2118226,

at *1. Judge Kreeger extended her PPOs after finding that Mr. Sabin’s letters to

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prisoners, which Lantagne and Karber were required to review, were “harassing” and

“reasonably caused [Lantagne and Karber] to suffer emotional distress.” Id.

      Plaintiff Sabin indicates that in 2012, he received four Notice of Package/Mail

Rejections from Defendant Lantagne and none from Defendant Karber. (Sabin Aff. ¶ 8,

ECF No. 92, PageID.902). The record contains documents related to one Notice of

Package/Mail Rejection.

      12.   # 0212-073

      On February 17, 2012, Lantagne issued Notice of Package/Mail Rejection

# 0212-073. It related to mail HBF sent to prisoner Murphy and indicated that the

mail was being rejected because it contained “prisoner information and current

locations.” (ECF No. 74-2, PageID.535; ECF No. 82-4, PageID.752). R. Ault conducted

the administrative hearing and upheld the rejection of this mail because it was

considered a threat to the prison’s order and security. (ECF No. 74-2, PageID.546;

ECF No. 82-4, PageID.710-11).

      On March 2, 2012, plaintiffs filed an appeal to Warden Prelesnik of Notice of

Package/Mail Rejection # 0212-073. (Sabin Aff. ¶ 18, ECF No. 92, PageID.904; ECF

No. 82-1, PageID.678-79). Plaintiffs did not submit a copy of the warden’s response.

                                       2013

      On January 28, 2013, Lantagne and Karber filed a motion asking Judge Kreeger

to order Mr. Sabin to show cause why he should not be held in contempt for violating

her PPOs. Judge Karber issued new PPOs in 2013, in part based on evidence that Mr.

Sabin, a convicted felon, was seeking information regarding Lantagne and Karber

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through FOIA requests and private investigators. Judge Kreeger conducted a hearing

on the request for the order to show cause and Mr. Sabin’s motion to terminate the

PPOs. Judge Kreeger denied the relief requested by all parties. 2014 WL 2118226, at

*1-2.

        Plaintiff Sabin indicates that in 2013, he received one Notice of Package/Mail

Rejection from Defendant Lantagne and none from Defendant Karber. (Sabin Aff. ¶ 8,

ECF No. 92, PageID.902).         The only documentation provided is related to

Package/Mail Rejection # 0113-049.

        13.   # 0113-049

        On January 18, 2013, defendant Lantagne issued Notice of Package/Mail

Rejection # 0113-049. He indicated that mail from HBF addressed to prisoner Whalen

was being rejected because it contained details of crimes in articles, was accompanied

by a hand written letter that contained information about MDOC employees, and the

sender had “many harassing and threatening comments towards certain ICF staff

members.” (ECF No. 74-2, PageID.536). On January 23, 2013, ARUS Smith conducted

an administrative hearing on this notice. He found that the articles included in this

package were news items that did not pose a threat to ICF’s security and prisoner

Whalen was allowed to have them. ARUS Smith upheld the rejection of the two

letters, one typed and one hand written, because they contained harassing and

threatening language toward MDOC staff. (ECF No. 74-2, PageID.547).




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                                         2014

      In January 2014, Judge Kreeger extended her PPOs against Mr. Sabin in favor

of defendants Lantagne and Karber for another three years.9           (ECF No. 18-1,

PageID.95-96).

      Plaintiff Sabin stated that in 2014, he received three Notice of Package/Mail

Rejection from Defendant Karber and none from Defendant Lantagne. (Sabin Aff. ¶ 8,

ECF No. 92, PageID.902). Plaintiffs presented no documentation related to the

underlying Notice of Package/Mail Rejections or administrative hearings.10

      On March 18, 2014, Plaintiff Sabin filed his lawsuit on behalf of himself and his

sole proprietorship, HBF. (ECF No. 1).

      On May 20, 2014, the Michigan Court of Appeals rejected Mr. Sabin’s challenges

to Judge Kreeger’s PPOs, affirmed her decisions and awarded taxable costs against Mr.

Sabin. Lantagne v. Sabin, 315532, 2014 WL 2118226, at *3-4. The appellate court

observed that the trial court found, upon assessment of credibility and contemplation

of the facts “as viewed in the context of the unique circumstances and prison setting,

that [Mr. Sabin’s] actual intent or purpose relative to including certain information

and statements in the various communications was to harass [Lantagne and Karber]

and not to legitimately conduct HBF affairs, legitimately seek redress of grievances,


      9
       No party has advised the Court regarding whether the PPOs were extended
past the January 29, 2017, expiration date.
      10
        Plaintiffs’ complaint indicated that the items at issue that they sent in 2014
were rejected because they violated Judge Kreeger’s PPOs. (ECF No. 1, PageID.13).
As noted above, plaintiffs provided no supporting documentation.

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or to legitimately pursue the enforcement of policies. The trial court effectively

concluded that the particular statements and information at issue that were contained

in [Mr. Sabin’s] communications or attempted communications to prisoners, and

particularly the high escape-risk prisoner serving multiple life sentences,11 were not

employed to serve a legitimate purpose. Rather, the trial court found that the

statements and information were meant to frighten, harass, and intimidate [Lantagne

and Karber], given that [Mr. Sabin] was fully aware that [Lantagne and Karber]

would, as part of their job duties, be reading the communications at issue, and

considering that potentially dangerous prisoners were part of the equation. The trial

court also made reference to suspicious activities at [Lantagne and Karber’s] homes

and [Mr. Sabin’s] hiring of a private investigator.” 2014 WL 2118226, at *2. The

Michigan Court of Appeals held that the trial court did not commit error in finding that

Mr. Sabin’s conduct was not constitutionally protected and it did not serve a legitimate

purpose, because it had been intended, at least in part, “to frighten, harass, and

intimidate” Karber and Lantagne. 2014 WL 2118226, at *3.

      On July 2, 2014, Judge Kreeger conducted a show cause hearing. She found that

Mr. Sabin violated the PPOs. She ordered that Mr. Sabin be sentenced to fourteen




      11
       Prisoner Murphy was held in administrative segregation at ICF after his
unsuccessful attempt to escape from the Kinross Correctional Facility by digging a
tunnel. See Murphy v. Lockhart, 826 F. Supp. 2d 1021 (E.D. Mich. 2011); see also
Hoffman v. Ritter, No. 2:10-cv-269, 2011 WL 4560916, at * 5 (W.D. Mich. Aug. 24,
2011).

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days in the county jail, with “sentence suspended pending strict compliance with the

PPO[s].” (ECF No. 18-4, PageID.99-100).

         On September 29, 2014, the Michigan Supreme Court denied Mr. Sabin’s

application for leave to appeal. See Lantagne v. Sabin, 853 N.W.2d 362 (Mich. 2014).

On March 9, 2015, the Supreme Court of the United States denied Mr. Sabin’s petition

for a writ of certiorari. See Sabin v. Karber, 135 S. Ct. 1532 (2015).

                                        Discussion

I.       Claims for Damages Stemming PPO Litigation in Michigan’s Courts

         Although it is not listed as a separate count, plaintiffs appear to be claiming an

entitlement to damages stemming from the PPO orders entered and enforced in

Michigan’s courts. (ECF No. 1, PageID.14-16). Federal courts are courts of limited

jurisdiction, which may exercise only those powers authorized by the Constitution and

statute. Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994); see

Vander Boegh v. EnergySolutions, Inc., 772 F.3d 1056, 1064 (6th Cir. 2014).

Accordingly, “[i]t is to be presumed that a cause lies outside this limited jurisdiction,

and the burden of establishing the contrary rests upon the party asserting

jurisdiction.”    Kokkonen, 511 U.S. at 377 (citations omitted).           The first and

fundamental question presented by every case brought to the federal courts is whether

it has jurisdiction to hear a case, even where the parties concede or do not raise or

address the issue. See Bender v. Williamsport Area Sch. Dist., 475 U.S. 534, 541

(1986); see also Vander Boegh, 772 F.3d at 1063.



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      “Federal district courts do not stand as appellate courts for decisions of state

courts. See Rooker v. Fidelity Trust Co., 263 U.S. 413, 44 S.Ct. 149, 68 L.Ed. 362

(1923); Dist. of Columbia Court of Appeals v. Feldman, 460 U.S. 462, 103 S.Ct. 1303,

75 L.Ed.2d 206 (1983). The Rooker–Feldman doctrine ‘prevents a federal court from

exercising jurisdiction over a claim alleging error in a state court decision.’ Luber v.

Sprague, 90 Fed. Appx. 908, 910 (6th Cir. 2004). Federal courts’ ‘authority to review

a state court’s judgment’ is vested ‘solely in [the Supreme] Court.’ Exxon Mobil Corp.

v. Saudi Basic Indus. Corp., 544 U.S. 280, 292, 125 S. Ct. 1517, 161 L.Ed.2d 454

(2005).” Hall v. Callahan, 727 F.3d 450, 453 (6th Cir. 2013).

      “To determine whether the plaintiff[s’] complaint seeks appellate review of a

state court decision or instead asserts an independent claim for relief, the federal court

must examine ‘the source of the injury the plaintiff alleges in the federal complaint.’”

Durham v. Haslam, 528 F. App’x 559, 563 (6th Cir. 2013) (quoting McCormick v.

Braverman, 451 F.3d 382, 393 (6th Cir. 2006)). “Rooker-Feldman focuses on whether

the state court decision caused the injury,” and this Court “cannot determine the source

of injury without reference to the plaintiff[s’] request for relief.” Berry v. Schmitt,

688F.3d 290, 299 (6th Cir. 2012) (citations and quotations omitted); see Durham, 528

F. App’x at 563. Here, among other things, plaintiffs seek to recover as damages all

litigation expenses related to the state court personal protective orders based on a

theory that the orders were “vexatious” and a “sham.” (see Compl. ¶¶ 33-35, 41,

PageID.14, 16).



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       The validity of the state court orders has been established and it cannot be

revisited here. Plaintiffs’ attempts to overturn the orders through the state courts and

Supreme Court have failed, and plaintiffs have exhausted all available means of

appellate review. The state court orders are final and this court lacks jurisdiction to

entertain a collateral attack. Under the Rooker-Feldman Doctrine, a party who lost

in state court may not complain about injuries caused by state-court judgments in a

subsequent federal lawsuit. See Saudi Basic Indus. Corp., 544 U.S. at 284. This Court

does not possess direct oversight powers over Michigan’s courts. See In re Cook, 551

F.3d 542, 548 (6th Cir. 2009). Thus, if plaintiffs are claiming damages stemming from

the PPO orders entered in Michigan’s courts, those claims must be dismissed for lack

of jurisdiction.12

II.    Section 1983

       Plaintiffs invoke 42 U.S.C. § 1983 (ECF No. 1, PageID.1) and claim violations

of their First Amendment rights. Section 1983 states in pertinent part, “Every person

who, under color of any statute, ordinance, regulation, custom, or usage, of any State

. . . , subjects, or causes to be subjected, any citizen of the United States or other person

within the jurisdiction thereof to the deprivation of any rights, privileges, or



       12
          The question of jurisdiction is being considered sua sponte. The res judicata
effect of the decisions of Michigan’s courts it not. Although the Supreme Court and
Sixth Circuit have recognized that lower courts can consider the affirmative defense
of the res judicata effect of state court decisions sua sponte under “special
circumstances,” the facts of this case do not warrant any departure from the “general
rule.” See Neff v. Flagstar Bank, FSB, 520 F. App’x 323, 326-27 (6th Cir. 2013)
(collecting cases).

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immunities secured by the Constitution and laws, shall be liable to the party injured

in an action at law, suit in equity, or other proper proceeding for redress . . . .” 42

U.S.C. § 1983. HBF is not a person under section 1983. See Will v. Michigan Dep’t of

State Police, 491 U.S. 58, 63-70 (1989); accord In re Christenberry, 336 BR 353, 356

(Bankr. E.D. Tenn. 2005).

      Further, a proprietorship has no constitutional rights of its own because it lacks

a separate legal existence apart from its owner. See NLRB v. Consolidated Food

Servs., Inc., 81 F. App’x at 14 n.1; see also United States v. Fox, 721 F.3d 32, 36 (2d

Cir. 1983). Although the plural “plaintiffs” appears throughout this Opinion based on

the form of the pleadings, it must be remembered that the underlying rights, if any,

belong to one person, Mr. Sabin, HBF’s owner. Plaintiff Sabin succinctly noted in an

earlier submission to the Court, that HBF and Mr. Sabin “are one in the same.”

(Answer to Order to Show Cause at 3, ECF No. 3, PageID.28).

      Section 1983 is not itself a source of any substantive right, but merely provides

a remedy for deprivation of rights that are elsewhere conferred by federal law. See

Graham v. Connor, 490 U.S. 386, 393-94 (1989); see also Aldini v. Johnson, 609 F.3d

858, 864 (6th Cir. 2010) (“Section 1983 does not confer substantive rights but merely

provides a means to vindicate rights conferred by the Constitution or laws of the

United States.”). Accordingly, the Court will proceed to address Plaintiffs’ claims that

defendants violated Mr. Sabin’s First Amendment rights, applicable to the State

through the Fourteenth Amendment’s Due Process Clause.



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       A.     First Amendment Free Exercise Claim

       Plaintiffs allege in Count I of their complaint that all defendants violated their

rights under the First Amendment’s Free Exercise Clause. (Compl. at 16-18, ECF No.

1, PageID.16-18). The Free Exercise Clause states: “Congress shall make no law

respecting an establishment of religion, or prohibiting the free exercise thereof....” U.S.

CONST. amend. I.      It has been applied to the States through the Fourteenth

Amendment’s Due Process Clause. See Cantwell v. Connecticut, 310 U.S. 296, 303

(1940).

       “[W]hen a prison regulation impinges on inmates’ constitutional rights, the

regulation is valid if it is reasonably related to legitimate penological interests.”

Turner v. Safley, 482 U.S. 78, 89 (1987); O’Lone v. Estate of Shabazz, 482 U.S. 342,

349-350 (1987). The familiar Turner factors are: (1) whether there is a valid, rational

connection between the prison regulation and the legitimate governmental interest put

forward to justify it; (2) whether there are alternative means of exercising the right

that remains open to prison inmates; (3) what impact that accommodation of the

asserted constitutional right will have on other guards and inmates; and (4) whether

there are other readily available alternatives at a de minimis cost to valid penological

interests. Turner, 482 U.S. at 89-91.

       Lawful incarceration legitimately requires the retraction or withdrawal of many

rights and privileges as a necessary consequence of society’s need to deter and punish

crime. O’Lone, 482 U.S. at 348. “The limitations on the exercise of constitutional

rights arise both from the fact of incarceration and from valid penological

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objectives-including deterrence of crime, rehabilitation of prisoners, and institutional

security.” Id. “The Supreme Court has held that in most circumstances, prison

officials ‘should be accorded wide-ranging deference in the adoption and execution of

policies and practices that in their judgment are needed to preserve internal order and

discipline and to maintain institutional security.’ ” Flagner v. Wilkinson, 241 F.3d 475,

481 (6th Cir. 2001) (quoting Bell v. Wolfish, 441 U.S. 520, 547 (1979)). “[S]uch a

standard is necessary ‘if prison administrators ..., and not the courts [are] to make the

difficult judgments concerning institutional operations.” Turner, 482 U.S. at 89 citing

Jones v. North Carolina Prisoner’s Union, 433 U.S. 119, 128 (1977)).         “Subjecting

day-to-day judgments of prison officials to an inflexible strict scrutiny analysis would

seriously hamper their ability to anticipate security problems and adopt innovative

solutions to the intractable problems of prison administration. The rule would also

distort the decision making process, for every administrative judgment would be

subject to the possibility that some court somewhere would conclude that it had a less

restrictive way of solving the problem at hand. Courts inevitably would become the

primary arbiters of what constitutes the best solution to every administrative problem,

thereby ‘unnecessarily perpetuat[ing] the involvement of the federal courts in the

affairs of prison administration.’ ” Turner, 482 U.S. at 89 (citing Procunier v. Martinez,

416 U.S. 396, 407 (1974)).

      Defendants seek summary judgment on the basis of qualified immunity. The

first prong of qualified immunity analysis is whether the plaintiff has alleged and



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supported with evidence facts showing that the defendant’s conduct violated a

constitutional or statutory right. See Saucier v. Katz, 533 U.S. at 201. The second

prong is whether the right was “clearly established at the time of the defendant’s

alleged misconduct.” Id. Trial courts are permitted to exercise their sound discretion

in deciding which of the two prongs of the qualified immunity analysis should be

addressed first. See Pearson v. Callahan, 555 U.S. 223 (2009). Plaintiffs elected not

to address either prong of the qualified immunity analysis. Instead, plaintiffs elected

to ignore their burden in favor of characterizing defendants’ qualified immunity

defense as “perfunctory” and “hardly warranting an in-depth response.” (Plaintiffs’

Brief at 20-21, ECF No. 82, PageID.622-23). It was plaintiffs’ burden to demonstrate,

with regard to each item of mail, how the action each defendant took with regard to

that item violated Mr. Sabin’s clearly established constitutional rights. See Mitchell

v. Schlabach, 864 F.3d at 424. Plaintiffs have presented nothing approaching their

burden.13

      Plaintiffs’ other “argument,” that defendants’ assertion of qualified immunity

“makes no sense,” because where there is “no claim under § 1983” the defense has “no


      13
        Although the briefing filed in this matter by all parties is less than exemplary,
defendants’ briefs are not so deficient that the issue of qualified immunity has been
waived. In the same vein, the Court has not deemed any of plaintiffs’ claims against
defendants to have been abandoned based on plaintiffs’ failure to present argument in
support of those claims in response defendants’ motion for summary judgment, which
clearly seeks entry of judgment in their favor on all plaintiffs’ claims. (See ECF No.
73 at PageID.512; ECF 74 at PageID.525). By way of example, the Court has
addressed plaintiffs Free Exercise Clause claims, even though the Free Exercise Clause
is mentioned only once in passing plaintiffs’ brief, without any developed argument.
(See Plaintiffs’ Brief at ii, ECF No. 82, PageID.591).

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need for a qualified immunity defense”14 has been flatly rejected.           See Jones v.

Borgerding, No. 1:14-cv-1265, 2016 WL 5468056, at *8 (W.D. Mich. Sept. 29, 2016).

“It is plaintiff[s’] argument that is illogical, unless plaintiff[s are] conceding that

defendant[s are] entitled to judgment in [their] favor on other grounds. The Sixth

Circuit’s decision in Ahlers [v. Schebil, 188F.3d 365, 374 (6th Cir. 1999)] stands for the

unremarkable proposition that if a defendant is entitled to judgment in his favor on

other grounds, a court may elect as a matter of judicial economy, not to address

qualified immunity. Jones, 2016 WL 5468056, at *8. “It is equally appropriate for a

court to address the qualified immunity issue and determine whether it provides an

additional basis for entry of judgment in the defendant[s’] favor.” Id. (collecting cases).

      In the context of the First Amendment’s Free Exercise Clause, “[a] prisoner

alleging that the actions of prison officials violate his religious beliefs must show that

‘the belief or practice asserted is religious in the person’s own scheme of things’ and is

‘sincerely held.’ ” Flagner v. Wilkinson, 241 F.3d 475, 481 (6th Cir. 2001), quoting Kent

v. Johnson, 821 F.2d 1220, 1224 (6th Cir. 1987). “Purely secular views or personal

preferences will not support a Free Exercise Clause claim.” Bennett v. Burt, No. 1:16-

cv-1203, 2016 WL 7034240, at *3 (W.D. Mich. Dec. 3, 2016). “Only beliefs rooted in

religion are protected by the Free Exercise Clause.” Id. (quoting Thomas v. Review Bd.

of Ind. Emp’t Sec. Div., 489 U.S. 829, 833 (1989)). “A religious belief which is not



      14
        (Plaintiffs’ Brief at 22, ECF No. 82, PageID.623) (quoting Tucker v. Pentrich,
2015 U.S. Dist. LEXIS 13915, at *29 (E.D. Mich. Jan. 13, 2015) and citing Ahlers v.
Schebil, 188 F.3d 365, 374 (6th Cir. 1998)).

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sincerely held or a belief which is purely secular does not require the prison to consider

accommodation.” Bennett, 2016 WL 7034240, at *3 (quoting Mosier v. Maynard, 937

F.2d 1521, 1526 (10th Cir. 1991)).

       Plaintiff Sabin states in his affidavit that HBF is a “Messianic Christian prison

ministry.” (Sabin Aff. ¶¶ 2-3, ECF No. 92, PageID.900). Because HBF has no separate

existence from Mr. Sabin, it is assumed for present purposes that he is a Messianic

Christian. It is further assumed for present purposes that his religious beliefs are

sincerely held. Unfortunately, Mr. Sabin’s affidavit is silent as what his specific

religious beliefs are and what the religious significance of each piece of paper at issue15

had in his religious belief system. Further, plaintiffs have not filed copies of the

specific items that they claim defendants improperly excluded. Thus, there is no

foundation for finding of any burden on Mr. Sabin’s religious exercise.16 Given that Mr.

Sabin is not confined in prison, he has alternative means of exercising his religious

beliefs.


       15
        The valid, rational connection between the prison regulation regarding
inspection of incoming mail for contraband and the legitimate governmental interest
put forward to justify it are considered in detail in the next section.
       16
        The scope of a prisoner’s right to freely exercise his or her religious beliefs lies
at the crossroads between competing interests: the right of a prisoner to maintain his
or her faith through continued practice and the legitimate interest of prison officials
in maintaining order and security in a difficult institutional environment.
Determining where to draw the balance between these interests, the Supreme Court
of the United States long ago concluded that prison officials may place restrictions
upon an inmate’s practice of his or her religious beliefs so long as an inmate retains a
reasonable opportunity to exercise that faith. Cruz v Beto, 405 U.S. 319, 322 (1972).
Thus, “[t]he ‘free’ exercise of religion thus is rather a misnomer in the prison setting[.]”
Johnson-Bey v. Lane, 863 F.2d 1308, 1310 (7th Cir. 1988).

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      The Court finds that plaintiffs have not presented evidence on which a

reasonable trier of fact could find any violation of their First Amendment rights under

the First Amendment’s Free Exercise Clause.

      Plaintiffs have not addressed or carried their burden on the second prong of the

qualified immunity analysis. See White v. Pauly, 137 S. Ct. at 551; Estate of Hill, 853

F.3d at 312 (“[T]he ultimate burden of proof is on the plaintiff[s] to show that the

defendant[s are] not entitled to qualified immunity.”); see also Sumpter v. Wayne

County, No. 16-2102, __ F.3d __, 2017 WL 3568607, at *7 (6th Cir. Aug. 18, 2017);

Arrington-Bey v. City of Bedford Heights, Ohio, 858 F.3d 988, 993 (6th Cir. 2017).

Plaintiffs have not cited and the Court has been unable to locate any Supreme Court,

Sixth Circuit, or other decision finding a violation of the Free Exercise Clause violation

under similar circumstances. Defendants are entitled to qualified immunity on all

plaintiffs’ Free Exercise Clause claims.

      B.     First Amendment Freedom of Speech

      In Count II, plaintiffs allege that all defendants violated their rights under the

First Amendment’s Free Speech Clause by unreasonably delaying processing or

rejecting mail that they sent to ICF inmates. (Complaint at 6-13, 18-19, ECF No. 1,

PageID.6-13, 18-19). In their brief, plaintiffs’ claims are characterized as alleging

violations of plaintiffs’ First Amendment right to “freedom of speech” in sending

“uncensored correspondence” to prisoners. (Plaintiffs’ Brief at 2-3, ECF No. 82,

PageID.603-04 ).



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       Plaintiffs did not have any First Amendment right to send “uncensored” mail to

ICF prisoners. See Thornburgh v. Abbott, 490 U.S. 401, 407-14 (1989). Further, the

First Amendment did not guarantee that any specific mail items sent by Mr. Sabin,

through his sole proprietorship of HBF, addressed to ICF prisoners would be processed

within any particular time frame, much less clearly established law with respect each

defendant and each item of incoming mail, clearly established law at the time the

defendant acted placed the unlawfulness of the official’s conduct “beyond debate.”

White v. Pauly, 137 S. Ct. at 551.

       Prisoners retain only “those First Amendment rights of speech ‘not inconsistent

with [their] status as ... prisoner[s] or with the legitimate penological objectives of the

corrections system.’ ” Hudson v. Palmer, 468 U.S. 517, 523 (1984) (quoting Pell v.

Procunier, 417 U.S. 817, 822 (1974)). “Prisons, by definition, are places of involuntary

confinement of persons who have a demonstrated proclivity for antisocial criminal, and

often violent, conduct. Inmates have necessarily shown a lapse in ability to control and

conform their behavior to the legitimate standards of society by the normal impulses

of self-restraint; they have shown an inability to regulate their conduct in a way that

reflects either a respect for law or an appreciation of the rights of others.” 468 U.S. at

526. The Supreme Court’s decision in Hudson v. Palmer noted that over a mere

eighteen-month span, there had been 120 prisoners murdered by fellow inmates in

state and federal prisons, a number of prison personnel murdered by prisoners, 29 riots

or similar disturbances, and 125 suicides. In the federal system alone over a one-year

period there were 359 inmate assaults on other inmates and 227 inmate assaults on

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prison staff. 486 U.S. at 526. “Within this volatile ‘community,’ prison administrators

are to take all necessary steps to ensure the safety of not only the prison staffs and

administrative personnel, but also visitors. They are under an obligation to take

reasonable measures to guarantee the safety of the inmates themselves. They must

be ever alert to attempts to introduce drugs and other contraband into the premises

which, we can judicially notice, is one of the most perplexing problems of prisons today;

they must prevent, so far as possible, the flow of illicit weapons into the prison; they

must be vigilant to detect escape plots, in which drugs or weapons may be involved,

before the schemes materialize.      In addition to these monumental tasks, it is

incumbent upon these officials at the same time to maintain as sanitary an

environment for the inmates as feasible, given the difficulties of the circumstances.”

Id. at 526-27.

      Incoming mail poses a particularly high threat to prison safety and security. See

Thornburgh v. Abbott, 490 U.S. at 413. The applicable standard is the deferential

Turner standard: whether the challenged regulation is “reasonably related to

legitimate penological interests.” 490 U.S. at 413. It was plaintiffs’ burden of showing

that the regulation, as applied by each defendant to each item of incoming mail, was

not reasonably related to legitimate penological objectives. See Overton v. Bazzetta,

539 U.S. 126, 132 (2003) (“The burden ... is not on the State to prove the validity of

prison regulations but on the prisoner to disprove it.”); see also Prison Legal News. v.

Livingston, 683 F.3d 201, 2015 (5th Cir. 2012); Street v. J.C. Bradford & Co., 886 F.2d



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1472, 1478 (6th Cir. 1990); Young v. Weathersby, No. 1:09-cv-67, 2010 WL 3909463, at

*9 (W.D. Mich. Sept. 15, 2010).    As previous noted, under the second prong of the

qualified immunity analysis it was plaintiff’s burden on each claim as to each

defendant to show that at the time the defendant acted, clearly established existing

precedent placed the unlawfulness of the official’s conduct “beyond debate.” Plumhoff,

134 S. Ct. at 2023; Mitchell, 864 F.3d at 424.

      In Turner, the Supreme Court upheld a total ban against inmate-to-inmate

correspondence because it was reasonably related to legitimate penological interests.

482 U.S. at 91-93 (“Undoubtedly, communication with other felons is a potential spur

to criminal behavior: this sort of contact frequently is prohibited even after an inmate

has been released on parole.”). Lower courts, applying the Turner standard, have

upheld more significant restrictions. Complete bans on correspondence between former

and current inmates have been upheld. See Nasir v. Morgan, 350 F.3d 366, 372 (3d

Cir. 2003).

      Plaintiffs’ brief contains a discussion of some of the instances where Notice of

Package/Mail Rejections were issued.        (Plaintiff’s Brief at 7-20, ECF No. 82,

PageID.608-21). Plaintiffs argue that Notice of Package/Mail Rejection #0411-120,

issued by Karber and appealed by plaintiffs, apparently without success, was an

“exaggerated response.” (Id. at 7-8, PageID.608-09) (citing Turner). The rejection of

the Detroit Free Press article dated April 18, 2011, sent by HBF to prisoner Bout

because it provided details regarding another prisoner’s crime was reasonably related



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to legitimate penological interests.    Among other things, this newspaper article

contains details of criminal sexual conduct against a 9-year-old victim by an intruder

who climbed through the girl’s bedroom window and raped her. (ECF No. 82-4,

PageID.712).

      Plaintiffs’ argument to the effect that recognizing defendants legitimate

penological interest could justify “censoring all of the published cases in the Michigan

Reports, Michigan Court of Appeals Reports and Federal Reporters, etc., explicitly

describing the crimes of other prisoners” (Plaintiffs’ Brief at 8, ECF. No. 82,

PageID.609) is not persuasive. No censoring of a case law reporter is at issue.

Newspaper articles do not establish legal precedent. The access to reporters exists

because a prisoner retains a First Amendment right of access to court in pursuit of a

non-frivolous direct appeal from a criminal conviction, a habeas corpus petition or a

civil rights action under 42 U.S.C. § 1983 to vindicate “basic constitutional rights.”

Lewis v. Casey, 518 U.S. 343, 354 (1996).

      Plaintiffs argue that the rejection of a “recall petition” HBF sent to prisoner

Murphy was not reasonably related to legitimate penological objectives. (Plaintiffs’

Brief at 8-9, ECF No. 82, PageID.609-10). The petition was rejected under Notice of

Package/Mail Rejection # 0811-054, issued by Lantagne. (ECF No. 82-1, PageID.682)

Unfortunately, plaintiffs did not provide the Court with a copy of the recall petition

that they now claim was constitutionally protected.         Prisoner Murphy was not

successful in having this decision overturned through th MDOC’s grievance process.

He claimed a violation of a right to keep himself informed about Michigan government

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and the political process. The Step II grievance response noted that a blank recall

petition was not necessary to educate himself about the political process. He had

alternative means such as books, periodicals, newspapers, radio and television to

educate himself regarding the political process. (ECF No. 82-4, PageID.720). No court

has held that a prisoner has a right to receive blank recall petitions.

      Michigan’s prison inmates are not entitled to become registered voters. See

Wyers v. Bannan, 249 F.2d 136 (1957); see also Moore v. Michigan Dep’t of Corr., 2:10-

cv-213, 2010 WL 4007609, at *2 (W.D. Mich. Oct. 12, 2010) (Dismissing a prisoner’s

complaint for failure to state a claim because “persons serving a sentence in jail or

prison are not eligible to vote.”); Crowdog v. Genesee County Canvassers, No. 04-cv-

74076, 2005 WL 1027586, at *1 (E.D. Mich. Apr. 20, 2005) (The court finding no

violation of a prisoner’s constitutional rights by a refusal to send an inmate’s request

for voter registration forms “because plaintiff was not qualified to become a registered

voter and there was no point in bothering the County Clerk with unnecessary

correspondence.”).   Michigan prisoners cannot provide valid signatures to recall

petitions because they are not registered and qualified electors. See MICH. COMP. LAWS

§§ 168.954, .958.    The rejection of the recall petition did not violate plaintiffs’

constitutional rights. Plaintiffs’ professed desire to have petitions circulated among

the families and friends of inmates can be readily achieved by direct mailings by

plaintiffs to that target audience.

      Plaintiffs argue that under Notice of Package/Mail Rejection # 0811-061, the

map rejected was not a Google map as described in the Notice, but rather a USGS

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photograph of “the Sabin homestead” that prisoner Murphy was allowed to receive

while he was a prisoner at the Bellamy Creek Correctional Facility. Plaintiffs argue

that the rejection of the USGS map (ECF No. 82-4, PageID.723) while Murphy was an

inmate at ICF was an exaggerated response under Turner. (Plaintiffs’ Brief at 9-10,

ECF No. 82, PageID.610-11). The Notice describes the item rejected was a “Detailed

Map.” (ECF No. 82-1, PageID.683). ARUS Smith upheld the rejection of the “Google

MAP.” The argument that the item was not a map was rejected: “it [was] a MAP and

[was] much more detailed than that of a road MAP[.] It says right on the document

‘MAP.’” (ECF No. 74-2, PageID.538). The rejection of this item was reasonably related

to legitimate penological objectives. The security concern being addressed under the

portion of the MDOC’s policy directive prohibiting detailed roadmaps is keeping

information that would assist in an “escape” out of the prisoner’s hands. (Policy

Directive 05.03.118, ¶ MM(16), ECF No. 74-3, PageID.556). Keeping the detailed

aerial photograph of Mr. Sabin’s property out of prisoner Murphy’s hands was not an

exaggerated response under Turner.

      Plaintiffs are mistaken when they argue that defendants were required to file

a copy of the newspaper article regarding the Attica prison riots. (Plaintiffs’ Brief at

11-12, ECF No. 82, PageID.612-13). Plaintiffs are the parties claiming that the

rejection of this particular newspaper article violated their First Amendment rights.

Plaintiffs had the burden of presenting evidence sufficient to raise a genuine issue of

fact for trial based on their claims against defendants based on the rejection of this

newspaper article. See Young v. Weathersby, 2010 WL 3909463, at *9. Plaintiffs did

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not create genuine issues of fact for trial by omitting the document forming the

lynchpin of their claims. Plaintiffs have not raised a genuine issue of fact for trial on

their claims against defendant Karber based on the issuance of Notice of Package/Mail

Rejection # 1011-020 regarding the article about the Attica riots or against defendant

Gehoski’s upholding the rejection because the item posed a threat to the security and

good order of the prison and encouraged criminal activity. (ECF No. 72-4, PageID.540;

ECF No. 82-3, PageID.702; ECF No. 82-4, PageID.708, 735).

      Plaintiffs’ claims with regard to Notice of Package/Mail Rejection # 0911-040

(Plaintiffs’ Brief at 10-11, ECF No. 82, PageID.611-12) likewise falter on plaintiffs’

failure to provide the foundational document on which the alleged violations of their

First Amendment rights are based. The evidence does show that at Step III of the

grievance process the MDOC’s Grievance and Appeals Section found that the

description Lantagne provided in the Notice of Package/Mail Rejection # 0911-040 was

deficient. (ECF No. 82-7, PageID.730). The Notice concerned a document described

as a “2011-2012 Opinion Petition to the Michigan Legislature.” The Grievance and

Appeals Section determined that a “new Notice and administrative hearing would be

in order, however, the record indicates that the document was returned to the sender

on 12-14-11.” (ECF No. 82-7, PageID.730).

      Plaintiffs argue that the rejection of a 58-page article regarding the psychiatric

effects of solitary confinement which was the subject of Notice of Package/Mail

Rejection # 1111-115 ( ECF No. 82-4, PageID.740-41) violated their First Amendment

rights. (Plaintiffs’ Brief at 12-13, ECF No. 82, PageID.613-14). ARUS Gehoski found

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that Prisoner Murphy had received mail containing copies of a publication including

a table of contents that were not direct from the publisher. She quoted PD 05.03.118

¶ MM(8) and emphasized that 58 pages was “more than a few pages.” (ECF No. 82-4,

PageID.741). The publication was not from an approved vendor. (PD 05.03.118, ¶ CC,

ECF No. 74-3, PageID.554). Paragraph MM(8) of the policy directive allows a limited

exception to the authorized vendor requirement: “This does not apply to an article or

a few pages, or copies of a few pages, or copies of a few pages, from a publication that

may be included with a letter or other mail, unless it is reasonably believed to be an

attempt to circumvent this restriction.” (Id. at ¶ MM(8), PageID.555). Plaintiffs’

argument that they were not limited in the number of pages in any “article” appears

to be based on a typographical error where “or” rather than “of” appears in the policy

directive. An “article or a few pages” makes no sense because there is nothing for “a

few pages” to modify. A few pages of what? An article of a few pages, makes sense,

and is consistent with the purpose of creating an exception to the vendors rule allowing

for a few pages of an article or other publication. A finding that plaintiffs’ mailing did

not fit within the limited exception was reasonable. Plaintiffs have not presented

evidence sufficient to raise a genuine issue of material fact for trial on claims based on

the rejection of this article.

       Plaintiffs argue that the mail that was the subject of Notice of Package/Mail

Rejection # 1114-142C by Karber and the hearing decision by Gehoski upholding the

rejection of sheets of paper listing names, addresses, and telephone numbers was not

reasonably related to legitimate penological interests. (Plaintiffs’ Brief at 13-14, ECF

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No. 82, PageID.614-15). The argument fails for lack of supporting evidence. Likewise,

plaintiffs’ arguments regarding the mail that was the subject of Notice of Package/Mail

Rejection # 1211-037, # 1211-063, # 1211-084, # 0212-073, and # 0113-049, and

“others” (Id. at 14-20, PageID.616-21) fail for the same reason. Absent the underlying

communication, plaintiffs fail to present evidence on which a reasonable trier of fact

could find a violation of plaintiffs’ First Amendment rights.

      The Third Circuit’s decision in Nasir v. Morgan, is particularly instructive.17 In

that case the court of appeals upheld a ban prohibiting all correspondence between

former inmate and a current inmate because, among other things, prisoners can

develop code or jargon to prevent detection of their real messages and there would be

“an inherent risk of missing dangerous communications both through use of deceptive

language and due to the volume of incoming mail that prison staff would be required

to read. With regard to the first prong of the Turner test, there was a rational

connection between the prison regulation in question and the legitimate governmental

interest which justifies it. The first element of the Turner test was satisfied because

correspondence sent by a former prisoner to a current inmate poses a particularly high

risk because the former inmate “has greater access to people and items that could lead



      17
        See also Smith v. Parker, 7 F. App’x 432, 434 (6th Cir. 2001) (upholding
rejection of incoming mail under a policy prohibiting inmates at one prison from
providing legal assistance to prisoners at another prison); Jackson v. Pollard, No. 07-C-
28, 2007 WL 1556867, at *3 (W.D. Wisc. May 25, 2007) (Coded prisoner
communications “could be used to further drug trafficking, convey escape plans, relay
gang messages, plan disturbances, order attacks on staff and other inmates and engage
in other criminal conspiracies.”).

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to crimes outside or inside the prison.” 350 F.3d at 372. Alternative means of

exercising the right remained available. The restriction did not bar prisoners from all

forms of correspondence. At issue was “communication with a limited class of other

people with whom prison officials are concerned: former prisoners. Outside of this

limited class, prisoners are free to communicate with most any other individual.” Id.

(citation omitted).

       In assessing the impact of accommodating the asserted right on other inmates

and prison personnel, “communication with former prisoners has a significant potential

negative impact on the rights of other inmates and prison personnel; an impact

sufficient to justify imposing limits on that communication.” Id. at PageID. 372-73.

The risks include “escape, retaliation, introduction of contraband, and other illegal

activity.”   Id. at 373.   Finally, the court considered the availability of ready

alternatives to the regulation.    The only alternative offered was the complete

monitoring of inmate correspondence to prevent all dangerous communication. Reading

every piece of correspondence from a former inmate would be impossible and create an

appreciable risk of missing dangerous messages. The Third Circuit recognized the real

possibility that prisoners develop jargon or code to prevent detection of their real

messages. There would be an inherent risk of missing dangerous communications,

both through the use of deceptive language and due to the volume of incoming mail

that prison staff would be required to read and review, it did not present a reasonable

alternative to the policy prohibiting such correspondence. Id. at 373-74.



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      The volume of material plaintiffs sent cuts against rather than in favor of their

claims. See Young v. Weathersby, 1:09-cv-67 2010 WL 3909463, at *8 (W.D. Mich.

Sept. 15, 2010) (rejection of mail so voluminous that it could not easily be readily

reviewed for contraband or other threats passed review under Turner because a

contrary rule would allow the sender simply to hide harmful content in a sufficiently

large quantity of other papers to thwart detection); see also Hall v. Johnson, 224 F.

Supp. 2d 1058, 1060 (E.D. Va. 2002) (upholding policy where all general purpose

correspondence over one ounce in weight was rejected because it “further[ed] the

legitimate governmental interest of institutional security because it allow[ed] mail

room personnel to quickly scan a shorter document for potential security risks, such

as escape plans”).

      In summary, the Court finds that plaintiffs have not presented evidence on

which a reasonable trier of fact could find in plaintiffs’ favor on any claim under the

First Amendment’s Free Speech Clause against defendants.

      Further, the Court finds that defendants are entitled to judgment in their favor

because plaintiffs have not carried their burden under the second prong of the qualified

immunity analysis. See Johnson v. Moseley, 790 F.3d at 653. Plaintiffs have not

shown that the rejection of any item of incoming mail by defendants violated any

clearly established constitutional right. See White v. Pauly, 137 S. Ct. at 551-52.

Qualified immunity “gives government officials breathing room to make reasonable but

mistaken judgments[.]” Carroll v. Carman, 135 S. Ct. at 350. Thus, even if plaintiffs



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had presented evidence that a defendant or defendants made a mistake in rejecting one

or more of the items of incoming mail, plaintiffs would still fall well short of showing

that at the time the defendants acted existing precedent placed the constitutional

question “beyond debate.” See White v. Pauly, 137 S. Ct. at 551.

      Plaintiffs’ claims based on perceived delays in processing mail and conducting

administrative hearings, deciding grievances, or sender’s appeals fare no better. Under

the second prong of the qualified immunity analysis it was plaintiffs’ burden to

demonstrate that the right each official is alleged to have violated was “clearly

established” in a particularized sense. The Supreme Court and the Sixth Circuit have

never recognized a constitutional right for a convicted felon and/or his sole

proprietorship, sending voluminous materials through the mail to prisoners in a high

security prison, to have such materials processed by employees in the prison mail

room, hearing officers, or the warden within any specific time frame. The unpublished

district court cases cited by plaintiffs are not remotely analogous, and do not clearly

establish the constitutional rights that plaintiffs claim. Two decisions from outside the

Sixth Circuit warrant brief examination because they illustrate the unsettled nature

of the law in this area.

      In Rowe v. Shake, 196 F.3d 778 (7th Cir. 1999), the Seventh Circuit suggested

that a claim based on interference delaying a prisoner’s timely receipt of incoming mail

from a non-attorney was possible, but held that the relatively short term and sporadic

delays alleged by the plaintiffs failed to state a First Amendment claim. Id. at 782.

In Ahlers v. Rabinowitz, 684 F.3d 53 (2d Cir. 2012), the Second Circuit found it

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unnecessary to articulate a standard for a claim based on an alleged delayed receipt

of mail because the plaintiff could not support a claim that the purported interference

with his non-legal mail was regular or unjustifiable. The Second Circuit found that the

plaintiff had alleged several brief delays and that was insufficient to state a claim. Id.

at 64. Plaintiffs have not carried their burden and defendants are entitled to qualified

immunity.

       C.     Retaliation

      In Count III, plaintiffs allege that defendants Karber and Lantagne retaliated

against them in violation of their First Amendment rights. (Compl. at 20-21, ECF No.

1, Page ID.20-21). On summary judgment, a plaintiff asserting a First Amendment

retaliation claim must present evidentiary proof on which a reasonable trier of fact

could find (1) that the plaintiff had engaged in conduct protected by the First

Amendment; (2) that an adverse action was taken against the plaintiff that would deter

a person of ordinary firmness from engaging in that conduct; and (3) that the adverse

action taken against the plaintiff was motivated, at least in part, by the protected

conduct. Thaddeus–X v. Blatter, 175 F.3d 378, 394 (6th Cir. 1999) (en banc). The

plaintiffs have the burden of proof on all three elements. See, e.g., Murray v. Evert, 84

F. App’x 553, 556 (6th Cir. 2003).

      Plaintiffs have not presented evidence on which any reasonable trier of fact could

find in their favor on any of the three elements of a First Amendment retaliation claim

against defendants Karber and Lantagne. Plaintiffs have not presented evidence that

Mr. Sabin was engaging in constitutionally protected conduct. They have not presented

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evidence of actions taken by defendants Karber and Lantagne regarding the processing

of incoming prisoner mail that would deter a person of ordinary firmness. Plaintiffs

have not presented evidence that actions taken were motivated, at least in part, by

constitutionally protected conduct.

       Plaintiffs have not presented evidence that the actions of defendants Karber and

Lantagne violated any clearly established constitutional right. The Supreme Court has

repeatedly emphasized that the second prong of the qualified immunity analysis must

be undertaken in light of the specific context of the case, not as a broad general

proposition. See White v. Pauly, 137 S. Ct. at 552. Courts are not to define clearly

established law at a high level of generality, since doing so avoids the crucial question

whether the official acted reasonably in the particular circumstances that he or she

faced. Id. In order to be clearly established, existing precedent must have placed the

unlawfulness of the official’s conduct “beyond debate.” Plumhoff, 134 S. Ct. at 2023;

Mitchell, 864 F.3d at 424.

       D.    Freedom of Association

       In Count IV, plaintiffs allege that defendants’ actions violated their First

Amendment right to freedom of association. (Compl. at 20-21, ECF No. 1, PageID.20-

21).

       In Overton v. Bazzetta, 539 U.S. 126, 131 (2003), the Supreme Court emphasized

that the “very object of imprisonment is confinement. Many of the liberties and

privileges enjoyed by other citizens must be surrendered by the prisoner. An inmate

does not retain rights inconsistent with proper incarceration. And, as our cases have

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established, freedom of association is among the rights least compatible with

incarceration.” The Court went on to hold that the MDOC’s regulation prohibiting

visitation by former inmates bears a self-evident connection to the State’s interest in

maintaining prison security and preventing future crimes. We have recognized that

‘communication with other felons is a potential spur to criminal behavior.’ ” Id. at 133-

34 (quoting Turner v. Safley, 482 U.S. 78, 91-92 (1987)).

       The associational rights of non-prisoners are no greater than the rights of

prisoners with whom they wish to associate. See Thornburgh v. Abbott, 490 U.S. 401,

410 n.9 (1989); Akers v. McGinnis, 352 F.3d 1030, 1047 (6th Cir. 2004) (Judge Clay

concurring in part and dissenting in part). Plaintiff HBF has no rights of its own.

Plaintiff Sabin’s associational rights are no greater than the rights of prisoners. Mr.

Sabin is a convicted felon and registered sex offender. Plaintiffs have not carried their

burden of demonstrating how the action of each defendant with regard to each item of

incoming mail violated plaintiffs’ clearly established First Amendment right of freedom

of association.

      E.     Other Unsupported Claims

      Plaintiff’s complaint lists a number of other Notice of Package/Mail Rejections

(See ECF No. 1, PageID.7-13), but plaintiffs did not present evidence in support of any

of those claims. The Court has not been provided with the Notice of Package/Mail

Rejections, Hearing Decisions, or copies of the papers allegedly wrongfully excluded.

      Defendants state that these are instances where the mail rejections were

overturned or rescinded and the mail was received by the intended prisoner recipient.

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Further, defendants state that plaintiff’s have “no claim of action” under such

circumstances. (Defendants’ Brief at 3, PageID.74). Although defendants should have

cited some case law regarding the requirement of injury in fact,18 the Court does not

find the error warrants that the issue be deemed waived. Plaintiffs response was to

argue that “inordinate delays” in a prisoner’s receipt of mail can be sufficient to support

a claim where the mail reaches its intended audience. (Plaintiffs’ Brief at 3, ECF No.

PageID.604). Again, there is no foundational evidence on which a reasonable trier of

fact could find that these defendants violated plaintiffs’ constitutional rights or that any

delay was unconstitutional. Further, simply labeling a delay as inordinate does not

suffice. Plaintiffs have not satisfied their burden of coming forward with evidence, legal

authority, and focused argument showing how the actions of each defendant in

connection with the processing of each of these incoming mail items violated plaintiffs’

clearly established constitutional rights. The Court finds that defendants are entitled

to judgment in their favor as a matter of law on these claims.

III.   Supplemental Jurisdiction

       Plaintiffs ask the court to exercise jurisdiction over purported state-law claims.

(ECF No. 1, PageID.2; see also Plaintiffs’ Brief at 20-21, ECF No. 82, PageID.621-22).

“Supplemental jurisdiction is a doctrine of discretion, not of plaintiff's right.” Habich

v. City of Dearborn, 331 F.3d 524, 535 (6th Cir. 2003). Generally, where all federal

claims have been dismissed, federal courts decline to exercise supplemental jurisdiction



       18
            See e.g., Spokeo v. Robins, 136 S. Ct. 1540, 1547 (2016).

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over state-law claims. See 28 U.S.C. § 1367(c)(3); Brooks v. Rothe, 577 F.3d 701, 709

(6th Cir.2009); see also Shaver v. Brimfield Twp., 628 F. App’x 378 384 (6th Cir. 2015).

There is no reason in this case to depart from the general rule.

                                      Conclusion

      For the foregoing reasons, defendants’ motion for summary judgment (ECF No.

73) will be granted and judgment will be entered in defendants’ favor on all plaintiffs’

federal claims.   The Court, in its discretion, declines to exercise supplemental

jurisdiction over plaintiffs’ purported state law claims.


Dated: September 20, 2017                /s/ Paul L. Maloney
                                        Paul L. Maloney
                                        United States District Judge




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